









Dismissed and Memorandum Opinion filed December 8, 2005









Dismissed and Memorandum Opinion filed December 8,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00978-CV

____________

&nbsp;

HASSAN MIRZA,
Appellant

&nbsp;

V.

&nbsp;

MOUMITA GOSWAMI AND SOMDUKTA GHOSH, Appellees

&nbsp;



&nbsp;

On Appeal from County Civil Court
at Law No. 4

&nbsp;Harris County, Texas

Trial Court Cause No.
813,221

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed August 22,
2005.&nbsp; The notice of appeal was filed on
September 9, 2005.&nbsp; To date, our records
show that appellant has neither established indigence nor paid the $125.00
appellate filing fee.&nbsp; See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent);Tex. R. App. P. 20.1
(listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals, Misc.
Docket No. 98-9120 (Tex. Jul. 21, 1998) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon Supp.2004-05) (same). 








After being notified that this appeal was
subject to dismissal, appellant did not respond.&nbsp; Accordingly,
the appeal is ordered dismissed.&nbsp; See
Tex. R. App. P. 42.3(c) (allowing
involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 8, 2005.

Panel consists of Justices Fowler,
Edelman, and Guzman.

&nbsp;





